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AP−48 Entry of Default − Rev. 12/2009

                             UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF NORTH CAROLINA
IN RE:                                                                      Bankruptcy Case No.:
Joseph Lamonte Humphrey                                                     19−01078−5−JNC
          Debtor(s)

                                                                            Adversary Proceeding No.:
Joseph Lamonte Humphrey                                                     19−00040−5−JNC
           Plaintiff(s)
           vs.
Cyprus Finance Company
           Defendant(s)




                                                ENTRY OF DEFAULT

It appears from the record that the following defendant failed to plead or otherwise defend in this case as
required by law.:

                                               Cyprus Finance Company

Therefore, default is entered against the defendant as authorized by Bankruptcy Rule 7055.

DATED: May 21, 2019




                                                             STEPHANIE J. BUTLER, CLERK OF COURT
